      Case 1-23-44083-ess      Doc 94     Filed 04/04/25    Entered 04/04/25 17:07:21




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April 4, 2025


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Honorable Elizabeth S. Stong
United States Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East
Brooklyn, New York 11201

Re:      25 Jay Street, LLC (Case No. 23-44083)

Dear Judge Stong:

This letter shall confirm that all matters in the above reference Chapter 11 case are adjourned
from April 4, 2025, at 10:30 a.m. (ET) to May 8, 2025, at 12:30 p.m. (ET) before the
Honorable Elizabeth S. Stong, United States Bankruptcy Judge at the United States
Bankruptcy Court, Eastern District of New York (Brooklyn Division), 271-C Cadman Plaza
East, Brooklyn, New York 11201, Courtroom #3585.

Respectfully submitted,

/s/ Matthew G. Summers

Matthew G. Summers

MGS/aap




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